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 1                               UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 Jerry Holman,                                            Case No.: 2:21-cv-00266-APG-NJK

 4             Petitioner,                              Order Granting Motion for Enlargement
                                                                       of Time
 5 v.
                                                                       [ECF No. 16]
 6 Calvin Johnson, et al.,

 7             Respondents.

 8            Respondents having filed a motion for enlargement of time (third request),1 and good

 9 cause appearing;

10            IT IS THEREFORE ORDERED that respondents' motion for enlargement of time (third

11 request) (ECF No. 16) is GRANTED. Respondents will have up to and including November 9,

12 2021, to file an answer or other response to the amended petition (ECF No. 9).

13            DATED: October 25, 2021

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                                                          ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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         ECF No. 16.
